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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               MCALLEN DIVISION


TEXAS BANKERS ASSOCIATION;
RIO BANK, MCALLEN, TEXAS; and
AMERICAN BANKERS ASSOCIATION
                                      Plaintiffs,

v.                                                      Case No: 7:23-cv-00144

CONSUMER FINANCIAL PROTECTION
BUREAU; and ROHIT CHOPRA, in his official
capacity as Director of the Consumer Financial
Protection Bureau,
                                     Defendants.


                              PLAINTIFFS’/INTERVENORS’
                               JOINT NOTICE OF APPEAL

       Plaintiffs Texas Bankers Association, Rio Bank, and American Bankers Association, and

Intervenors Texas First Bank, Independent Bankers Association of Texas, Independent

Community Bankers of America, Texas Farm Credit, Farm Credit Council, Capital Farm Credit,

XL Funding, LLC, Equipment Leasing and Finance Association, Rally Credit Union, America’s

Credit Unions (formerly Credit Union National Association), and Cornerstone Credit Union

League hereby appeal to the United States Court of Appeals for the Fifth Circuit from the Court’s

September 23, 2024 Final Judgment—ECF No. 123. That final judgment incorporates the Court’s

previous ruling—ECF No. 115—filed on August 26, 2024, addressing the parties’ cross-motions

for summary judgment (ECF Nos. 79 and 91) and Plaintiffs’/Intervenors’ Motion to Supplement

the Administrative Record (ECF No. 78).
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October 23, 2024                           Respectfully submitted.

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                               CERTIFICATE OF SERVICE

       I hereby certify that the foregoing has been filed on October 23, 2024, via the CM/ECF

system and via email courtesy copy to Counsel for Defendants.

                                                  /s/ John C. Sullivan
                                                  John C. Sullivan

                                                  Counsel for Plaintiffs




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